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               IN THE UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION


STATE OF MISSOURI; STATE OF
GEORGIA; STATE OF ALABAMAN-
STATE OF ARKANSAS; STATE OF
FLORIDA; STATE OF NORTH
DAKOTA; and STATE OF OHIO,

       Plaintiffs,

             V.                                            CV 224-103


UNITED STATES DEPARTMENT OF
EDUCATION; MIGUEL A. CARDONA,
in his official capacity as
Secretary, United States
Department of Education; AND
JOSEPH R. BIDEN, JR., in his
official capacity as President
of the United States,

       Defendants.




                                        ORDER




       Before     the   Court      is    Plaintiffs'      motion       for   a   stay   /

preliminary       injunction      / temporary       restraining        order     C'TRO").

(Doc. 5.)       Upon due consideration, the Court GRANTS Plaintiffs'

motion for TRO.




                                    I. BACKGROUND


       On   September     3,     2024,      Plaintiffs    filed    a    complaint    for

declaratory and injunctive relief.                   (Doc. 1.)         Simultaneously,

they   filed      the   currently        pending    combined      motion     for   stay.
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preliminary injunction, and TRO.                (Doc. 5.)^            Plaintiffs are

various States seeking emergency relief after uncovering documents

providing that the Secretary of Education (the ''Secretary") is

unlawfully trying to mass cancel hundred of billions of dollars of

student loans and has quietly instructed federal contractors to do

so "immediately," starting as early as September 3, 2024.                         (Doc.

1,   at    1.)     Plaintiffs    have     obtained   documents        revealing     the

Secretary is implementing this forgiveness plan, the Third Mass

Cancellation Rule (the "Rule"), without publication and has been

set on doing so since May.           (Doc. 5, at 3.)          Plaintiffs represent

the Rule suffers from a "bevy of defects" and attempts to evade

existing injunctions issued for previous plans. (Id. at 4-5.)                        As

such. Plaintiffs request the Court hastily issue relief against

the Rule in its entirety to prevent the unlawful implementation of

it and to avoid the enormous economic consequences possible if the

Rule takes effect before judicial review.                   (Id. at 51-54.)




                                 II. DISCUSSION


      To    obtain    a   TRO, "a   movant    must   show:      (1)   a   substantial

likelihood       of success    on   the   merits;    (2)     that   it    will   suffer

irreparable injury unless the injunction is issued; (3) that the



1 Plaintiffs also filed a motion for leave to file excess pages for their
memorandum in support of their combined motion.         (Doc. 4.)     Upon due
consideration. Plaintiffs' request (Doc. 4) is GRANTED, and the Court considers
the entire brief, despite it exceeding the usual 26-page limit imposed by the
Local Rules.     L.R. 7.1(a}, S.D. Ga.
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threatened injury outweighs the harm the [TRO] would inflict on

the non-movant; and (4) that the [TRO] would not be adverse to the

public interest."         GeorqiaCarry.Org, Inc. v. U.S. Army Corps of

Engineers, 38 F. Supp. 3d 1365, 1369 (N.D. Ga. 2014), aff'd, 788

F.3d 1318 (11th Cir. 2015).        A TRO "is an extraordinary and drastic

remedy that should not be granted unless the movant clearly carries

its burden of persuasion on each of these prerequisites." Suntrust

Bank v. Houghton Mifflin Co., 252 F.3d 1165, 1166 (11th Cir. 2001)

(citation omitted).        TROs "should be restricted to serving their

underlying purpose of preserving the status quo and preventing

irreparable harm just so long as is necessary to hold a hearing,

and no longer."      Granny Goose Foods, Inc. v. Bhd. Of Teamsters &

Auto Truck Drivers Local No. 70 of Alameda Cnty., 415 U.S. 423,

439 (1974).

      The Court finds Plaintiffs have standing and successfully

satisfy the elements for issuance of a TRO.               This suit may proceed

"[i]f at least one plaintiff has standing."                 Biden v. Nebraska,

143 3. Ct. 2355, 2365 (2023) (citation omitted).                 The Rule harms

Plaintiff    State   of    Missouri     through   financial     injury    to   its

instrumentality, the Higher Education Loan Authority of the State

of Missouri ("MOHELA").       Id.; (Doc. 5, at 24.)        MOHELA is a Missouri

public instrumentality that is paid to service federal student

loans, and for the same reasons the Supreme Court found standing
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in Biden v. Nebraska, the Court finds Missouri has standing here.

See 143 S. Ct. at 2365-66.

      Turning to the TRO elements. Plaintiffs show a substantial

likelihood of success on the merits given the Rule's lack of

statutory authority, and the Secretary's attempt to implement a

rule contrary to normal procedures.              This is especially true in

light of the recent rulings across the country striking down

similar federal student loan forgiveness plans.

      Next, Plaintiffs show they will suffer irreparable injury.

If the Rule goes into effect. Defendants will unlawfully cancel

billions of dollars in student loans, causing MOHELA and others

similarly situated to lose administrative                  servicing fees they

would have received from accounts being closed or balances being

reduced.    (Doc. 5, at 47-48.)          Further, the harm is irreparable

because ''the States cannot turn back the clock on any loans that

have already been forgiven."           Missouri v. Biden, No. 24-2332, 2024

WL 3738157, at *4 (8th Cir. Aug. 9, 2024) (citation omitted).

      Plaintiffs show the threatened injury outweighs the harm the

TRO would inflict on Defendants.             Plaintiffs' harm is imminent and


immediate as outlined above, and Defendants' only potential harm

is a pause in implementing the Rule.              The purpose of a TRO is to

maintain the status quo until the Court can reach the final merits

of the suit.     Granny Goose Foods, Inc., 415 U.S. at 439.                   Thus,

Plaintiffs' risk of harm far outweighs the risk to Defendants of



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a temporary pause to maintain the status quo.                         This ties in with

the fourth element, showing that the TRO would not be adverse to

the public interest because of the constitutional implications of

the Rule, as well as the financial implications of mass loan

forgiveness on American taxpayers.                 Accordingly, Plaintiffs have

shown they are entitled to a TRO.                  As a TRO is to preserve the

status quo, and this TRO is based on the record as it currently

exists, the determinations made by the Court are not final and may

change after additional facts are presented, the issues of law are

further developed, and the Court has an opportunity to conduct a

more thorough analysis of the legal issues presented.



                                   III. CONCLUSION


       Based    upon     the     foregoing,      IT    IS      HEREBY       ORDERED   that

Plaintiffs' motion for TRO (Doc. 5) is GRANTED.                             Defendants are

TEMPORARILY      RESTRAINED           from     implementing           the     Third   Mass

Cancellation Rule.         Further, Defendants are RESTRAINED from mass

canceling student loans, forgiving any principal or interest, not

charging borrowers accrued interest, or further implementing any

other actions under the Rule or instructing federal contractors to

take   such    actions.        This    Order    applies     to       all of    Defendants'

officers,      agents,    employees,         attorneys,        and    other    persons   in

active concert or participation with them.
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      Further, the Court has exercised its discretion to determine

that no bond shall be required.             This Order shall be EFFECTIVE

IMMEDIATELY and will remain in effect for FOURTEEN DAYS, unless

extended by Order of this Court.

      IT IS FURTHER ORDERED that the Court has scheduled a hearing

on this matter via videoconference^ for WEDNESDAY, SEPTEMBER 18,

2024 at 10:00 A.M. unless the Parties mutually agree to conduct

the   hearing   in   person    at   the    United    States     District   Court,

Courtroom 2 - located at 600 James Brown Boulevard, Augusta, GA

30901.   In anticipation of this hearing. Defendants SHALL FILE any

response to Plaintiffs' motion by 5:00 P.M. on TUESDAY, SEPTEMBER

10, 2024 and     Plaintiffs     SHALL FILE     any   reply      by 5:00 P.M. on

FRIDAY, SEPTEMBER 13, 2024.

      ORDER   ENTERED     at   Augusta,    Georgia,      this              day   of

September, 2024 at                  A.M.




                                            HOI^RABLE J. R/NDAL HALL
                                            UNIT^ STATES DISTRICT JUDGE
                                            SOUTHERN     DISTRICT   OF GEORGIA




2 The Court will provide the Parties with dial-in instructions via email before
the hearing.
